
PER CURIAM.
Affirmed. Hill v. State, 133 So.2d 68 (Fla.1961); Spencer v. State, 133 So.2d 729 (Fla.1961); Scott v. State, 256 So.2d 19 (Fla. 4th DCA 1971); Mack v. State, 270 So.2d 382 (Fla. 3d DCA 1972); State v. Bryan, 287 So.2d 73 (Fla.1973); Lynch v. State, 293 So.2d 44 (Fla.1974); Henderson v. State, 304 So.2d 537 (Fla. 3d DCA 1974); Walker v. State, 330 So.2d 110 (Fla. 3d DCA 1976).
